          Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 1 of 19



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13
14                      UNITED STATES DISTRICT COURT

15                    NORTHERN DISTRICT OF CALIFORNIA
16 DARREN RYAN, on behalf of himself Case No.
17 and all others similarly situated,
                                      CLASS ACTION COMPLAINT
18                    Plaintiff,
19
        v.
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21
   MR. BAR-B-Q PRODUCTS LLC; and
22 Does 1 through 10, Inclusive.
23
24                  Defendants.              JURY TRIAL DEMANDED
25
26
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28
     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED
             Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 2 of 19



 1          Plaintiff, Darren Ryan (“Plaintiff” or “Mr. Ryan”) brings this action on behalf of
 2 himself, and all other similarly situated persons against MR. BAR-B-Q PRODUCTS LLC
 3 ( “MR. BAR-B-Q” or “Defendant”). Plaintiff makes the following allegations based upon
 4 information and belief, except as to the allegations specifically pertaining to himself,
 5 which are based on personal knowledge.
 6                                         INTRODUCTION
 7          1.     Stainless    steel is   known      for   its corrosion     resistance attributes       in
 8 environments where carbon and low-alloy tool steels would corrode1. The term “stainless
 9 steel” refers to iron-based alloys that include the element of chromium of at least 10.5%
10 in composition. The resistance to corrosion depends upon the chemical composition of the
11 stainless steel, chiefly the chromium content.
12          2.     In the 1930’s, the American Iron and Steel Institute first developed a system
13 to grade steel. This system combined with the Society of Automotive Engineers (SAE)
14 International formed a more standardized three-digit numbering system. The American
15 Society for Testing and Materials (ASTM) developed a six-digit numbering system for
16 categorizing stainless steel. There are also other systems for grading stainless including
17 grades and series.
18          3.     There are five general categories of stainless steels, which includes 1)
19 Austenitic, 2) Ferritic, 3) Martensitic, 4) Duplex and 5) Precipitation-hardening2.
20          4.     The grade of the stainless steel determines the alloy’s durability, quality, and
21 resistance to corrosion.
22          5.     Carbon steel is used to describe two distinct types of steel: carbon steel and
23 low-alloy steel. Stainless steel, on the other hand, is a specialized group of steel alloys
24 designed to resist corrosion. Carbon steel is less expensive than stainless steel, because it
25 contains a lower percentage of alloying elements.
26
     1
            https://www.corrosionpedia.com/2/2022/substances/metals/an-introduction-to-stainless-steels
27 (last visited March 2024)
28 2        De Cooman, Bruno Charles (April 2016). Lecture on stainless steel. Pohang University of
     Science and Technology Korea Graduate Institute of Ferrous Technology.
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                                                COMPLAINT
             Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 3 of 19



 1          6.     Each grade of stainless steel has slightly different chemical compositions
 2 which cause a difference in physical appearance to the naked eye.
 3          7.     ‘Stainless steel’ (also known as “inox”) is corrosion-resistant steel (CRES).
 4 “Stainless steel's resistance to corrosion results from the chromium, which forms a passive
 5 film that can protect the material and self-heal in the presence of oxygen3.”
 6          8.     Corrosion is a natural process that converts refined material into a chemically
 7 stable oxide which causes the gradual deterioration by chemical or electrochemical
 8 reaction with the environment. Stainless steel is corrosion resistant, making it popular and
 9 attractive for use in the manufacturing of products such as vehicles, computers, surgical
10 appliance, instruments, cutlery, and other cookware. Its strength and corrosion resistance
11 abilities have also prompted the use of stainless steel in pharmaceutical and food
12 processing plants4.
13          9.     Stainless steels do not suffer uniform corrosion impacts when exposed to wet
14 environments whereas carbon steel suffers from corrosion immediately when put in wet
15 environments. Unprotected carbon steel rusts readily when exposed to a combination of
16 air and moisture. The resulting iron oxide surface layer which will occupy a larger volume
17 than the stainless steel in the carbon steel is porous and fragile, which will expand and
18 flake and eventually fall away or flake off, thereby exposing the underlying steel to further
19 attack and degradation. This is the reason corrosion occurs so quickly with carbon steel.
20          10.    On the other hand, the chromium content in stainless steel creates
21 passivation, which will spontaneously form a microscopically thin inert surface film of
22 chromium oxide. “This passive film prevents further corrosion by blocking oxygen
23 diffusion to the steel surface and thus prevents corrosion from spreading into the bulk of
24
25   3
          Davis,Joseph R., ed. (1994). Stainless Steels. ASM Specialty Handbook Materials Park, OH:
     ASM International, ISBN 97800871705037, Achieved from the original on 14 April 2021.
26
     4
27 stainlessZaffora,
                     Andrea; Di Franco, Francisco; Santamaria, Monica (October 2021). “Corrosion of
             steel in food and pharmaceutical industry.” Current Opinion in Electrochemistry. 29 Article
28 100760.
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                                                COMPLAINT
             Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 4 of 19



 1 the metal5.” The reaction of the chromium oxide with the oxygen in the air prevents the
 2 steel from corroding. “This film is self-repairing, even when scratched or temporarily
 3 disturbed by an upset condition in the environment that exceeds the inherent corrosion
 4 resistance of that grade6.”
 5         11.    Mr. Bar-B-Q was founded in 1972. It markets and advertises itself as
 6 “committed to providing consumers innovative, superior quality products at an excellent
 7 value7.”
 8         12.    Mr. Bar-B-Q sells a variety of products including accessories, on the grill, in
 9 addition to preparatory and cleaning care products. Mr. Bar-B-Q also owns and operates
10 other branded businesses such as “Chef Master,” which can be found online at the web
11 address http://www.chef-master.com (last visited April 24, 2024).
12         13.    Mr. Bar-B-Q also sells a variety of products through the Chef-Master brand,
13 such as Whip Cream Products, including dispensers and chargers for the dispensers. Mr.
14 Bar-B-Q makes several claims, as set forth below:
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     5     Olsson, Clas; Herting, Gunilla; Odnevall Wallinder, Inger (2006). "Passive Films on Stainless
25 Steel: Recent Nano-Range Research". ACOM.
     6
26         Chapter 5 corrosion resistance of stainless steels". www.worldstainless.org. Archived from the
27 original on 12 September 2021. Retrieved 1 October 2021
     7
28         https://mrbarbq.com/about-mr-bar-b-q/ (last visited April 11, 2024)

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                                                COMPLAINT
            Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 5 of 19



 1         14.    Mr. Bar-B-Q represents and warrants to consumers that the Chef Master
 2 chargers it sells to operate Chef Master whip dispensers are “100% STAINLESS STEEL,”
 3 which is set forth below:
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16         15.    Mr. Bar-B-Q runs other marketing campaigns to support its claims that Chef
17 Master’s chargers are “100% STAINLESS STEEL.” Consumers love stainless steel
18 products based on the quality of the products, its environmental attributes and its
19 metallurgical benefits. “Stainless steel is a fantastically green material because it is 100
20 percent recyclable. In fact, more than half of all the stainless steel materials that are in use
21 today have been sourced from scrap materials. What's more, its production does not
22 produce toxic run-off. Individuals and business entities can make a huge difference by
23 simply going for stainless steel rather than other non-recyclable raw materials.”8
24 //
25 //
26
27   8
            https://www.ulbrich.com/blog/stainless-sustainability-the-circular-economy-of-
28   metal/#:~:text=Stainless%20steel%20is%20a%20fantastically,not%20produce%20toxic%20run%2Dof
     f.
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                                             COMPLAINT
              Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 6 of 19



 1           16.   “Stainless steel is 100% recyclable into the same product with no reduction
 2 in quality. The metal's high scrap value and recyclability ensures that it is diverted from
 3 landfills and recaptured for use in new stainless steel9.”
 4           17.   As set forth in the picture below, the Chef Master products at issue in this
 5 case are the Chargers:
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15       (referred to individually as “product” or collectively referred to as “Products”).
16           18.   This labeling deceives consumers into believing that they are paying for and
17 receiving products that conform to Defendant’s representations and warranties that the
18 Products are 100% stainless steel. Defendant’s Products do not live up to these
19 representations.
20           19.   Contrary to the “100% STAINELSS STEEL” labeling, however, it is alleged
21 that each of the Products are not “100% STAINLESS STEEL.” Plaintiff has tested the
22 Products by an independent third party that confirms the Products are not 100% stainless
23 steel.
24           20.     Defendant’s representations are false, misleading, unfair, unlawful, and are
25 likely to deceive members of the public and continue to do so.           Defendants’ practices
26
27   9
             https://www.ssina.com/value-propositions/sustainability/#:~:text=for%20their%20use.-
28   ,Stainless%20steel%20is%20100%25%20recyclable%20into%20the%20same%20product%20with,use
     %20in%20new%20stainless%20steel.
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                                              COMPLAINT
            Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 7 of 19



 1 violate California’s Consumer Legal Remedies Act, Cal. Civ. Code § 1750 et seq.
 2 (“CLRA”), California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200 et seq.
 3 (“UCL”), California’s False Advertising Law, and Cal. Bus. & Prof. Code § 17500 et seq.
 4 (“FAL”). Defendant’s representations also give rise to Plaintiff’s nationwide class claims
 5 for negligent misrepresentation, fraud, and unjust enrichment.
 6                                JURISDICTION AND VENUE
 7         21.    This Court has personal jurisdiction over Defendant. Defendant purposefully
 8 avails itself of the California consumer market and distributes the Products to hundreds of
 9 locations within this County and also via physical and online retail locations throughout
10 California and the United States, where the Products are purchased by thousands of
11 consumers every day. Mr. Bar-B-Q is headquartered in Hauppauge, New York, but the
12 basis of the allegations set forth in the complaint emanate from New York to the remainder
13 of the United States.
14         22.    This Court has original subject-matter jurisdiction over this proposed class
15 action pursuant to 28 U.S.C. § 1332(d), which, under the provisions of the Class Action
16 Fairness Act (“CAFA”), explicitly provides for the original jurisdiction of the federal
17 courts in any class action in which at least one hundred (100) members are in the proposed
18 plaintiff class, any member of the plaintiff class is a citizen of a State different from any
19 Defendants, and the matter in controversy exceeds the sum of $5,000,000.00, exclusive of
20 interest and costs. Plaintiff alleges that the total claims of individual members of the
21 proposed Class (as defined herein) are well in excess of $5,000,000.00 in the aggregate,
22 exclusive of interest and costs.
23         23.    Venue is proper in this District under 28 U.S.C. § 1391(a). Substantial acts
24 in furtherance of the alleged improper conduct, including the dissemination of false and
25 misleading information regarding the nature, quality, and/or ingredients of the Products,
26 occurred within this District.
27                                            PARTIES
28         24.    Plaintiff is a citizen of California, residing in the city of San Jose.
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                                              COMPLAINT
           Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 8 of 19



 1        25.    Defendant MR. BAR-B-Q PRODUCTS LLC is a corporation organized
 2 under the laws of New York, its headquarters and principal place of business is located at
 3 10 Commerce Dr., Hauppauge, NY 11788. Defendant produces, markets and distributes
 4 various Products across the United States. Among others, those products include Chef
 5 Master chargers, which Defendant claims are made with 100% STAINLESS STEEL, but
 6 are in fact not 100% STAINLESS STEEL, but rather are made from other materials.
 7 Defendant knew that the labeling of the Products is false and misleading to a reasonable
 8 consumer, because the Products are not 100% STAINLESS STEEL, which plainly makes
 9 the statements inconsistent with the Products’ labeling.
10                               FACTUAL ALLEGATIONS
11        26.    In the last approximately three (3) years, Mr. Ryan made purchase(s) of the
12 Products from retail and online stores while located in San Jose County, California. On
13 June 21, 2023, Mr. Ryan made his last purchase of the Products through Amazon’s website
14 www.amazon.com for $24.57. Prior to purchasing, Mr. Ryan also saw, read and relied on
15 the representation and warranty that the Products contained “100% STAINLESS STEEL.”
16 Mr. Ryan understood these representations to mean that the Products were “100%
17 STAINLESS STEEL.” Mr. Ryan purchased the Products at a substantial price premium
18 and would not have bought the Products had he known that the labeling he relied on was
19 false, misleading, deceptive, and unfair. Mr. Ryan would purchase the Products again in
20 the future if Defendant changed the composition of the Products so that they conformed
21 to their “100% STAINLESS STEEL” labeling and marketing.
22        27.    Defendant represents to its consumers that the Products are “100%
23 STAINLESS STEEL.”
24        28.    The Products are not “100% STAINLESS STEEL.”
25        29.    There is no debate that consumer preferences have shifted towards safer
26 products and products friendly to the environment. Consumers are willing to pay more
27 for products with these attributes. By representing that the Products are “100%
28 STAINLESS STEEL,” Defendant has taken advantage of consumers’ preference for
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                                          COMPLAINT
            Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 9 of 19



 1 products that are non-corrosive, environmentally friendly and the corresponding impact
 2 the corrosiveness would have on the food related products. Plaintiff and consumers pay
 3 more for these products, because of the higher quality, health, and environmental benefits
 4 associated with stainless steel.
 5         30.    Plaintiff and the Class Members reasonably relied on Defendant’s false
 6 and/or misleading representations that the Products are “100% STAINLESS STEEL.”
 7 Plaintiff and Class Members did not know and had no reason to believe, that the Products
 8 were misbranded, false, and misleading and would not have bought the Products had they
 9 known the truth about Products. Defendant’s representations that the Products are “100%
10 STAINLESS STEEL” is material to a reasonable consumer, including Plaintiff and Class
11 Members when deciding to purchase it and in fact was material to the purchase of the
12 Products.
13                             CLASS ACTION ALLEGATIONS
14         31.    Plaintiff seeks to represent a class defined as all persons in the United States
15 who purchased the Products during the class period (the “Class”). Excluded from the
16 Class are Defendant, its affiliates, employees, officers and directors, persons or entities
17 that purchased the Products for resale, and the Judge(s) assigned to this case.
18         32.    Plaintiff also seeks to represent a Subclass of all persons in California who
19 purchased the Products during the class period (the “California Subclass”). Excluded from
20 the California Subclass are Defendant, its affiliates, employees, officers and directors,
21 persons or entities that purchased the Products for resale, and the Judge(s) assigned to this
22 case.
23         33.    Members of the Class and California Subclass are collectively referred to
24 herein as “Class Members.”
25         34.    There is a well-defined community of interest in the questions of law and fact
26 involved in this case. Questions of law and fact common to the members of the putative
27 classes that predominate over questions that may affect individual Class Members include,
28 but are not limited to the following:
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                                             COMPLAINT
           Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 10 of 19



 1               a.     whether Defendant’s misrepresented material facts concerning the
 2                      Products on the label of every Product;
 3               b.     whether Defendant’s conduct was unfair and/or deceptive;
 4               c.     whether Defendant has been unjustly enriched as a result of
 5                      the unlawful, fraudulent, and unfair conduct alleged in this
 6                      Complaint such that it would be inequitable for Defendant
 7                      to retain the benefits conferred upon them by Plaintiff and
 8                      the Class and California Sub-Class;
 9               d.     whether Defendants breached express warranties to Plaintiff and
10                      the classes;
11               e.     whether Plaintiff and the classes have sustained damages
12                      with respect to the common-law claims asserted, and if so,
13                      the proper measure of their damages; and
14               f.     Whether Plaintiff and members of the Class and California
15                      Subclass are entitled to injunctive relief.
16         35.   Plaintiff’s claims are typical of those of other Class Members because
17 Plaintiff, like all members of the classes, purchased Defendant’s Products bearing the
18 “100% STAINLESS STEEL” representations and Plaintiff and Class Members sustained
19 damages from Defendant’s wrongful conduct.
20         36.   Plaintiff will fairly and adequately protect the interests of the classes and have
21 retained counsel that is experienced in litigating complex class actions. Plaintiff has no
22 interests which conflict with those of the classes.
23         37.   A class action is superior to other available methods for the fair and efficient
24 adjudication of this controversy.
25         38.   The prerequisites to maintaining a class action for equitable relief are met as
26 Defendant has acted or refused to act on grounds generally applicable to the classes,
27 thereby making appropriate equitable relief with respect to the classes as a whole.
28 //
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                                            COMPLAINT
           Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 11 of 19



 1         39.   The prosecution of separate actions by members of the classes would create
 2 a risk of establishing inconsistent rulings and/or incompatible standards of conduct for
 3 Defendant.     For example, one court might enjoin Defendant from performing the
 4 challenged acts, whereas another might not. Additionally, individual actions could be
 5 dispositive of the interests of the classes even where certain Class Members are not parties
 6 to such actions.
 7                                          COUNT I
 8          Violation Of California’s Consumers Legal Remedies Act (“CLRA”),
 9                           California Civil Code §§ 1750, et seq.
10                                   (Injunctive Relief Only)
11         40.   Plaintiff hereby incorporates by reference the allegations contained in all
12 preceding paragraphs of this complaint.
13         41.   Plaintiff Ryan brings this claim individually and on behalf of the members of
14 the proposed California Subclass against Defendants.
15         42.   This cause of action is brought pursuant to California’s Consumers Legal
16 Remedies Act, Cal. Civ. Code §§ I750-I785 (the “CLRA”).
17         43.   Plaintiff Ryan and the other members of the California Subclass are
18 “consumers,” as the term is defined by California Civil Code § 1761(d), because they
19 bought the Products for personal, family, or household purposes.
20         44.   Plaintiff Ryan, the other members of the California Subclass, and Defendants
21 have engaged in “transactions,” as that term is defined by California Civil Code § 1761(e).
22         45.   The conduct alleged in this Complaint constitutes unfair methods of
23 competition and unfair and deceptive acts and practices for the purpose of the CLRA, and
24 Defendants’ conduct in transactions is intended to result in, and which did result in, the
25 sale of goods to consumers.
26         46.   As alleged more fully above, Defendants have violated the CLRA by falsely
27 representing to Plaintiff Ryan and the other members of the California Subclass that the
28 Products are “100% STAINLESS STEEL,” which is false.
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                                           COMPLAINT
             Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 12 of 19



 1           47.   As a result of engaging in such conduct, Defendant has violated California
 2 Civil Code § 1770(a)(5), (a)(7) and (a)(9).
 3           48.   On April 25, 2024, Plaintiff Ryan mailed a notice letter to Defendant
 4 consistent with California Civil Code § 1782(a). The letter was sent on behalf of Plaintiff
 5 Ryan and all other persons similarly situated.
 6           49.    Accordingly, pursuant to California Civil Code § 1780(a)(3), Plaintiff Ryan,
 7 on behalf of himself and all other members of the California Subclass seeks injunctive
 8 relief.
 9                                           COUNT II
10                 Violation Of California’s Unfair Competition Law (“UCL”),
11                   California Business & Professions Code §§ 17200, et seq.
12           50.   Plaintiff hereby incorporates by reference the allegations contained in all
13 preceding paragraphs of this complaint.
14           51.   Defendant is subject to California’s Unfair Competition Law, Cal. Bus. &
15 Prof. Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition
16 shall mean and include unlawful, unfair or fraudulent business practices and unfair,
17 deceptive, untrue or misleading advertising ….”
18           52.   Defendant violates statutes enacted in California and in each of the fifty (50)
19 states and the District of Columbia that are designed to protect consumers against unfair,
20 deceptive, fraudulent, unconscionable trade and business practices, and false advertising.
21 These statutes include:
22           a) Alabama Deceptive Trade Practices Act, Ala. Statues Ann. § 8-19-1, et seq.;
23           b) Alaska Unfair Trade Practices and Consumer Protection Act, Ak. Code §
24           45.50.471, et seq.;
25           c) Arizona Consumer Fraud Act, Arizona Revised Statutes, § 44-1521, et seq.;
26           d) Arkansas Deceptive Trade Practices Act, Ark. Code § 4-88-101, et seq.;
27           e) Colorado Consumer Protection Act, Colo. Rev. Stat. § 6 -1-101, et seq.;
28           f) Wyoming Consumer Protection Act, Wyoming Stat. Ann. §40-12-101, et seq.
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                                             COMPLAINT
     Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 13 of 19



 1   g) Connecticut Unfair Trade Practices Act, Conn. Gen. Stat § 42-110a, et seq.;
 2   h) Delaware Deceptive Trade Practices Act, 6 Del. Code § 2511, et seq.;
 3   i) District of Columbia Consumer Protection Procedures Act, D.C. Code § 28 3901,
 4   et seq.;
 5   j) Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann. §501.201, et
 6   seq.;
 7   k) Georgia Fair Business Practices Act, § 10-1-390 et seq.;
 8   l) Hawaii Unfair and Deceptive Practices Act, Hawaii Revised Statues § 480 1, et
 9   seq., and Hawaii Uniform Deceptive Trade Practices Act, Hawaii Revised Statutes
10   § 481A-1,et seq.;
11   m) Idaho Consumer Protection Act, Idaho Code § 48-601, et seq.;
12   n) Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS
13   §505/1, et seq.;
14   o) Indiana Deceptive Consumer Sales Act, Indiana Code Ann. § 24-5-0.5-0.1, et
15   seq.;
16   p) Iowa Consumer Fraud Act, Iowa Code § 714.16, et seq.;
17   q) Kansas Consumer Protection Act, Kan. Stat. Ann § 50 626, et seq.;
18   r) Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. § 367.110, et seq., and
19   the Kentucky Unfair Trade Practices Act, Ky. Rev. Stat. Ann § 365.020, et seq.;
20   s) Louisiana Unfair Trade Practices and Consumer Protection Law, La. Rev. Stat.
21   Ann. §51:1401, et seq.;
22   t) Maine Unfair Trade Practices Act, 5 Me. Rev. Stat. § 205A, et seq., and Maine
23   Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann. 10, § 1211, et seq.;
24   u) Maryland Consumer Protection Act, Md. Com. Law Code § 13-101, et seq.;
25   v) Massachusetts Unfair and Deceptive Practices Act, Mass. Gen. Laws ch.     93A;
26   w) Michigan Consumer Protection Act, § 445.901, et seq.;
27   x) Minnesota Prevention of Consumer Fraud Act, Minn. Stat § 325F.68, et seq., and
28   Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. § 325D.43, et seq.;
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                                     COMPLAINT
     Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 14 of 19



 1   y) Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-1, et seq.;
 2   z) Missouri Merchandising Practices Act, Mo. Rev. Stat. § 407.010, et seq.;
 3   aa) Montana Unfair Trade Practices and Consumer Protection Act, Mont. Code §
 4   30-14-101, et seq.;
 5   bb) Nebraska Consumer Protection Act, Neb. Rev. Stat. § 59 1601,
 6   et seq., and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev. Stat.
 7   § 87-301, et seq.;
 8   cc) Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. § 598.0903, et seq.;
 9   dd) New Hampshire Consumer Protection Act, N.H. Rev. Stat. § 358-A:1,
10   et seq.;
11   ee) New Jersey Consumer Fraud Act, N.J. Stat. Ann. § 56:8 1,
12   et seq.;
13   ff) New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57 12 1,et seq.;
14   gg) New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law § 349, et
15   seq.;
16   hh) North Dakota Consumer Fraud Act, N.D. Cent. Code § 51 15 01, et seq.;
17   ii) North Carolina Unfair and Deceptive Trade Practices Act, North Carolina
18   General Statutes §75-1, et seq.;
19   jj) Ohio Deceptive Trade Practices Act, Ohio Rev. Code. Ann. § 4165.01. et seq.;
20   kk) Oklahoma Consumer Protection Act, Okla. Stat. 15 § 751, et seq.;
21   ll) Oregon Unfair Trade Practices Act, Rev. Stat § 646.605, et seq.;
22   mm) Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 Penn.
23   Stat. Ann. §201-1, et seq.;
24   nn) Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I. Gen.
25   Laws §6-13.1-1, et seq.;
26   oo) South Carolina Unfair Trade Practices Act, S.C. Code Laws § 39-5-10, et seq.;
27   pp) South Dakota's Deceptive Trade Practices and Consumer Protection Law, S.D.
28   Codified Laws § 37 24 1, et seq.;
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                                        COMPLAINT
           Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 15 of 19



 1         qq) Tennessee Trade Practices Act, Tennessee Code Annotated § 47-25-
 2         101, et seq.;
 3         rr) Texas Stat. Ann. § 17.41, et seq., Texas Deceptive Trade Practices Act;
 4         ss) Utah Unfair Practices Act, Utah Code Ann. § 13-5-1,et seq.;
 5         tt) Vermont Consumer Fraud Act, Vt. Stat. Ann. tit.9, § 2451,
 6         et seq.;
 7         uu) Virginia Consumer Protection Act, Virginia Code Ann. §59.1-196,
 8         et seq.;
 9         vv) Washington Consumer Fraud Act, Wash. Rev, Code § 19.86.010, et seq.;
10         ww)West Virginia Consumer Credit and Protection Act, West Virginia Code §
11         46A-6-101, et seq.;
12         xx) Wisconsin Deceptive Trade Practices Act, Wis. Stat. § 100. 18, et seq.;
13         53.    Defendant violated the “unlawful” prong of the UCL by violating the CLRA
14   and the FAL, and the above referenced statutes in Paragraph 52.
15         54.    Defendant violated the “unlawful” prong of the UCL by violating the CLRA
16 and the FAL, as alleged herein.
17         55.    Defendant’s misrepresentations and other conduct, described herein, violated
18 the “unfair” prong of the UCL in that their conduct is substantially injurious to consumers,
19 offends public policy, and is immoral, unethical, oppressive, and unscrupulous, as the
20 gravity of the conduct outweighs any alleged benefits.
21         56.    Defendant violated the “fraudulent” prong of the UCL by misrepresenting
22 that the Products are “100% STAINLESS STEEL,” when in fact they are not.
23         57.    Plaintiff Ryan and the California Subclass lost money or property as a result
24 of Defendant’s UCL violations because: (a) they would not have purchased the Products
25 on the same terms if they knew that the Products were not “100% STAINLESS STEEL;”
26 (b) they paid a substantial price premium compared to other products due to Defendant’s
27 misrepresentations; and (c) the Products do not have the characteristics, uses, or benefits
28 as promised.
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                                            COMPLAINT
            Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 16 of 19



 1                                          COUNT III
 2                 Violation Of California’s False Advertising Law (“FAL”),
 3                  California Business & Professions Code §§ 17500, et seq.
 4         58.    Plaintiff hereby incorporates by reference the allegations contained in all
 5 preceding paragraphs of this complaint.
 6         59.    Plaintiff Ryan brings this claim individually and on behalf of the members of
 7 the proposed California Subclass against Defendant.
 8         60.    California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.,
 9 makes it “unlawful for any person to make or disseminate or cause to be made or
10 disseminated before the public in this state, ... in any advertising device ... or in any other
11 manner or means whatever, including over the Internet, any statement, concerning ...
12 personal property or services, professional or otherwise, or performance or disposition
13 thereof, which is untrue or misleading and which is known, or which by the exercise of
14 reasonable care should be known, to be untrue or misleading.”
15         61.    Defendant committed acts of false advertising, as defined by §§17500, et
16 seq., by misrepresenting that the Products are “100% STAINLESS STEEL” when they
17 are not.
18         62.    Defendant knew or should have known through the exercise of reasonable
19 care that their representations about the Products were untrue and misleading.
20         63.    Defendant’s actions in violation of §§ 17500, et seq. were false and
21 misleading such that the general public is and was likely to be deceived. Plaintiff Ryan
22 and the California Subclass lost money or property as a result of Defendant’s FAL
23 violations because: (a) they would not have purchased the Products on the same terms if
24 they knew that the Products were not “100% STAINLESS STEEL;”; (b) they paid a
25 substantial price premium compared to other products due to Defendants’
26 misrepresentations; and (c) the Products do not have the characteristics, uses, or benefits
27 as promised.
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                                             COMPLAINT
            Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 17 of 19



 1                                         COUNT IV
 2                                     Unjust Enrichment
 3          64.   Plaintiff hereby incorporates by reference the allegations contained in all
 4 preceding paragraphs of this complaint.
 5          65.   Plaintiff brings this claim individually and on behalf of the proposed Class
 6 against Defendant.
 7          66.   Plaintiff and Class Members conferred benefits on Defendant by purchasing
 8 the Products.
 9          67.   Defendant has been unjustly enriched in retaining the revenues derived from
10 Plaintiff and Class Members’ purchases of the Products. Retention of those monies under
11 these circumstances is unjust and inequitable because of Defendant’s misrepresentations
12 about the Products, which caused injuries to Plaintiff and members of the classes because
13 they would not have purchased the Products if the true facts had been known.
14          68.   Because Defendant’s retention of the non-gratuitous benefits conferred on it
15 by Plaintiff and Class Members is unjust and inequitable, Defendant must pay restitution
16 to Plaintiff and Class Members for their unjust enrichment, as ordered by the Court.
17                                          COUNT V
18                                            Fraud
19          69.   Plaintiff hereby incorporates by reference the allegations contained in all
20 preceding paragraphs of this complaint.
21          70.   Plaintiff brings this claim individually and on behalf of the proposed Class,
22 and California Subclass against Defendant.
23          71.   As discussed above, Defendant provided Plaintiff and Class Members with
24 false or misleading material information about the Products by representing that they are
25 “100% STAINLESS STEEL.” Defendants made that misrepresentation knowing it was
26 false.
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                                            COMPLAINT
           Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 18 of 19



 1         72.   Defendant’s misrepresentations, upon which Plaintiff and Class Members
 2 reasonably and justifiably relied, were intended to induce and actually induced Plaintiff
 3 and Class Members to purchase the Products.
 4         73.   Defendant’s fraudulent actions harmed Plaintiff and Class Members, who are
 5 entitled to damages and other legal and equitable relief as a result.
 6                                    PRAYER FOR RELIEF
 7         WHEREFORE, Plaintiff demands judgment on behalf of himself and members of
 8 the Class, and California Subclass, as follows:
 9         A.    For an order certifying the Class and California Subclass under Rule 23 of
10               the Federal Rules of Civil Procedure; naming Plaintiff as Class and
11               California Subclass representative; and naming Plaintiff’s attorneys as
12               Class Counsel representing the Class and California Subclass Members;
13         B.    For an order finding in favor of Plaintiff, the Class, and the California
14               Subclass on all counts asserted herein;
15         C.    For an order awarding statutory, compensatory, treble, and punitive
16               damages in amounts to be determined by the Court and/or jury;
17         D.    For injunctive relief enjoining the illegal acts detailed herein;
18         E.    For prejudgment interest on all amounts awarded;
19         F.    For an order of restitution and all other forms of equitable monetary relief;
20               and
21         G.    For an order awarding Plaintiff his reasonable attorneys’ fees and expenses
22               and costs of suit.
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         Case 5:24-cv-02605-SVK Document 1 Filed 05/01/24 Page 19 of 19



 1                               JURY TRIAL DEMANDED
 2       Plaintiff demands a trial by jury on all claims so triable.
 3 Dated: May 1, 2024                       Respectfully submitted,
 4                                          NATHAN & ASSOCIATES, APC.
 5
 6                                   By:       /s/ Reuben D. Nathan
 7                                         Reuben D. Nathan
 8                                         NATHAN & ASSOCIATES, APC
                                           Reuben D. Nathan (State Bar No. 208436)
 9                                         2901 W. Coast Highway, Suite 200
                                           Newport Beach, CA 92663
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